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      POOLER, Circuit Judge, dissenting in part:

            I join the Court’s opinion in every respect but one: the decision to unseal

      the summary judgment record ourselves. I agree that all or most of the material

      must be unsealed. Nevertheless, in my view, the district court is better suited to

      the task. As the Court’s opinion recognizes in connection with the remaining

      sealed materials, the district court is better positioned to communicate with the

      parties and any nonparties whose privacy interests might be affected by

      unsealing. On that score, it is worth clarifying here the breadth of the Court’s

      unsealing order: it unseals nearly 2000 pages of material. The task of identifying

      and making specific redactions in such a substantial volume is perilous; the

      consequences of even a seemingly minor error may be grave and are irrevocable.

      Moreover, although I share the majority’s concern about avoiding delay, I would

      alleviate that concern through other means—perhaps with an order directing the

      district court to act expeditiously and by making clear what types of limited

      redactions are and are not appropriate. In sum, I would unseal the district court’s

      summary judgment decision only and leave the remainder of the materials for

      the district court to review, redact, and unseal on remand.




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